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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 22-cv-80726-MIDDLEBROOKS/Matthewman

   ARTHUR BARRY SOTLOFF, individually
   and as the Administrator of the Estate of
   STEVEN JOEL SOTLOFF; SHIRLEY
   GOLDIE PULWER; and LAUREN SOTLOFF;

          Plaintiffs,
   V.

   QATAR CHARITY, a Foreign Non-Profit
   Organization; and QATAR NATIONAL
   BANK (Q.P.S.C); a Foreign Multinational
   Commercial Bank;

          Defendants.
   - - - - - - - - - - - - -I
                   ORDER REFERRING CASE AND SETTING TRIAL DATE

          PLEASE TAKE NOTICE that the above-entitled cause is hereby set for Trial before the

   Honorable Donald M. Middlebrooks, United States District Judge, at United States District Court

   at 701 Clematis Street, Second Floor, Courtroom 7, West Palm Beach, Florida, during the two-

   week trial period commencing October 10, 2023 at 9:00 a.m., or as soon thereafter as the case

   may be called. PLEASE TAKE FURTHER NOTICE that a Calendar Call will be held on

   Wednesday, October 4, 2023 at 1:15 p.m. ALL COUNSEL MUST BE PRESENT.

          JURY TRIALS. By the dates set forth in the pretrial scheduling order, counsel shall

   submit proposed jury instructions with the substantive charges and defenses, verdict forms, and

   motions in limine, if any. Jury instructions shall be filed on the docket and a copy shall be

   submitted in Word format directly to middlebrooks@flsd.uscourts.gov. To the extent these

   instructions are based upon the Eleventh Circuit Pattern Jury Instructions, counsel shall indicate

   the appropriate Eleventh Circuit Pattern Jury Instruction upon which their instruction is modeled.
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   All other instructions shall include citations to relevant supporting case law. The Eleventh Circuit

   Pattern Jury Instructions Builder is available at https://pji.cal 1.uscourts.gov.

          At jury selection, the Court will conduct voir dire. The Parties may, but are not required

   to, submit voir dire questions to the Court. After the Court questions the jury venire, the Parties

   will each have a limited amount of time, to be determined at Calendar Call, to question the jury

   venire. After the Court determines which members of the jury venire should be dismissed for

   cause, each side will be allowed three peremptory challenges, with no backstriking. As soon as

   the jury is selected, the jury will be sworn, preliminary instructions will be given, and the case will

   begin with opening statements.

           Side bars are not generally permitted. The Parties shall raise any anticipated issues prior

   to trial or during a break, outside the presence of the jury. Should the Court need to address an

   issue, the jury likely will be excused for a break.

           BENCH TRIALS. In cases tried before the Court, each party shall file by the deadline

   set forth in the pretrial scheduling order, the proposed Findings of Fact and Conclusions of Law.

   An additional copy shall be sent in Word format to the chambers e-mail account listed above.

           EXHIBITS. Prior to any trial, counsel shall submit to the Court a typed list of proposed

   witnesses and/or exhibits. All exhibits must be pre-labeled in accordance with the proposed

   exhibit list. Exhibit labels must include the case number. At least two-weeks before trial, the

   parties shall file their deposition designations along with objections in the event there are any.

           The Parties exhibit list should be prepared using the Administrative Office ' s form 187

   (AO-187). The Parties are responsible for complying with the Southern District of Florida' s

   Administrative Order 2016-70, which was entered on November 22, 2016, concerning the
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   electronic submission of admitted exhibits. 1 It is further

          ORDERED AND ADJUDGED, pursuant to 28 U.S.C. § 636 (b)(l)(A) and the Magistrate

   Judge Rules of the Local Rules of the Southern District of Florida, the above-captioned cause is

   hereby referred to United States Magistrate Judge William Matthewman to conduct a

   Scheduling Conference, pursuant to Local Rule 16.1 .B, for the purpose of setting pre-trial deadline

   dates, for determining possible consent to the jurisdiction of the Magistrate Judge for trial, and for

   the purpose of setting any settlement conferences in lieu of or in addition to mediation if the parties

   so request. Judge Matthewman shall retain jurisdiction to resolve any disputes arising from the

   aforementioned proceeding(s). All counsel of record will be required to attend this conference

   which will be noticed by Magistrate Judge Matthewman. Copies of any and all filings related to

   such scheduling conference, including proposed orders, must be sent directly to Judge

   Matthewman at matthewman@flsd.uscourts .gov.

          Further, any request to modify the above-set trial date must be made prior to the

   Scheduling Conference. The foregoing does not preclude consideration of a prompt motion

   to modify the trial date for good cause shown by a party joined in the litigation after the

   Scheduling Conference has occurred.

           The parties are directed, in accordance with CM/ECF procedures, as follows:

           COURTESY COPIES: Notwithstanding the implementation of CM/ECF, all parties

   shall deliver a courtesy copy to the Intake Section of the Clerk's Office all motions exceeding

   twenty-five pages. This copy shall be bound and any attachments and/or appendices must be

   indexed with tabs.

           PROPOSED ORDERS: Pursuant to the CM/ECF Administrative Procedures, counsel


   1
     Note that any exhibits admitted during a hearing are also required to be filed electronically on
   the docket after the hearing. See Administrative Order 2016-70.
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   shall send proposed orders in Word format for ALL motions directly to

   middlebrooks@flsd. uscourts. gov. 2

          DONE AND ORDERED, in Chambers, at West Palm Beach, Florida, this          ~       day of

   December, 2022.




                                                             United States District Judge

   cc:    Honorable William Matthewman
          All Counsel of Record




          2  This does not apply to orders relating to Judge Matthewman's scheduling conference
   discussed above.
